           Case 5:22-cv-04325-EJD Document 258 Filed 11/21/22 Page 1 of 18




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14                               UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN JOSE DIVISION
17    FEDERAL TRADE COMMISSION,                    Case No. 5:22-cv-04325-EJD
18
              Plaintiff,                           DEFENDANT META PLATFORMS, INC.’S
19    v.                                           EXHIBIT 1 TO THE PARTIES’ JOINT
                                                   DISCOVERY STATEMENT [DKT. 144-1]
20    META PLATFORMS, INC., et al.,
                                                   Dept.: Courtroom 4 – 5th Floor
21            Defendants.                          Judge: Honorable Edward J. Davila
22

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25
                                          REDACTED
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     META’S EXHIBIT 1 TO PARTIES’ JOINT                               CASE NO. 5:22-CV-04325-EJD
     DISCOVERY STATEMENT [DKT. 144-1]
           Case 5:22-cv-04325-EJD Document 258 Filed 11/21/22 Page 2 of 18




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     Attorneys for Defendant WITHIN UNLIMITED, INC.
17                                                                 REDACTED
     (Additional Counsel Listed on Signature Page)
18

19                                 UNITED STATES DISTRICT COURT

20                               NORTHERN DISTRICT OF CALIFORNIA

21                                         SAN JOSE DIVISION

22    FEDERAL TRADE COMMISSION,                      Case No. 5:22-cv-04325-EJD

23            Plaintiff,                             DEFENDANTS META PLATFORMS,
      v.                                             INC.’S AND WITHIN UNLIMITED, INC.’S
24                                                   NOTICE OF DEPOSITION TO PLAINTIFF
      META PLATFORMS, INC., et al.,                  FEDERAL TRADE COMMISSION
25

26            Defendants.                            Date:    Thursdays
                                                     Time:    9:00 a.m.
27                                                   Dept.:   Courtroom 4 – 5th Floor
                                                     Judge:   Honorable Edward J. Davila
28

     DEFENDANTS’ NOTICE OF DEPOSITION TO                                  CASE NO. 5:22-CV-04325-EJD
     PLAINTIFF
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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30(b)(6),
 3   Defendants Meta Platforms, Inc. (“Meta”) and Within Unlimited, Inc. (“Within”), by and through
 4   undersigned counsel, will take the deposition of Plaintiff Federal Trade Commission (“FTC”). The
 5   deposition will take place at a date and time to be mutually agreed upon by the parties at the offices of
 6   Weil, Gotshal & Manges LLP, 2001 M Street, NW, Washington, DC 20036 or remotely. The deposition
 7   shall continue from day to day (weekends and holidays excepted) until concluded, and shall be recorded
 8   stenographically and by video tape.

 9          Pursuant to Federal Rule of Civil Procedure 30(b)(6), the FTC shall designate one or more
10   witnesses to testify on its behalf as to all facts and other information known or reasonably available to
11   the FTC relating to the subject matters set forth in the Schedule of Deposition Topics, and not just about
12   information personally known to the witness or witnesses. If the designated witness or witnesses do not
13   possess such knowledge, the FTC shall prepare them so that they may give knowledgeable and binding
14   answers per the requirements of Rule 30(b)(6).
15

16   Dated: October 7, 2022                               Respectfully submitted,
17                                                        WEIL, GOTSHAL & MANGES LLP
18
                                                          By: /s/ Eric Hochstadt
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     DEFENDANTS’ NOTICE OF DEPOSITION TO                                       CASE NO. 5:22-CV-04325-EJD
     PLAINTIFF
         Case 5:22-cv-04325-EJD Document 258 Filed 11/21/22 Page 4 of 18




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28                                               Counsel for WITHIN UNLIMITED, INC.

     DEFENDANTS’ NOTICE OF DEPOSITION TO     2                     CASE NO. 5:22-CV-04325-EJD
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 1                                  SCHEDULE OF DEPOSITION TOPICS
 2                                                DEFINITIONS
 3          1.      “Action” means the action captioned Federal Trade Commission, et al. v. Meta
 4   Platforms, Inc., et al., Case No. 5:22-CV-04325-EJD, which is currently pending in the United States
 5   District Court for the Northern District of California.
 6          2.      “Communication” means any exchange of information between two or more
 7   Persons, through any mode of conveying information, including but not limited to telephone calls, e-
 8   mails and all other forms of electronic communication and electronic messaging, letters, faxes,

 9   conversations, interviews, meetings, hearings, or other written, electronic or spoken language or
10   graphics, however transmitted or stored.
11          3.      “Concerning,” “Related to,” and “Regarding” means analyzing, alluding to,
12   concerning, considering, commenting on, consulting, comprising, containing, describing, dealing with,
13   evidencing, identifying, involving, reporting on, relating to, reflecting, referring to, regarding, studying,
14   mentioning, or pertaining to, in whole or in part.
15          4.      “Data” means facts, statistics, or other information of any kind, however produced or
16   reproduced, which can be used for purposes of calculation or analysis.
17          5.      “Document” means written or graphic material of any kind, however produced or
18   reproduced, whether draft or final, original or reproduction, including: contracts, memoranda, brochures,
19   pamphlets, letters, emails (including attachments, message content, and header information), faxes,

20   diaries, financial statements, bank statements, bills, invoices, wire transfer confirmations, minutes, notes,

21   summaries of communications, photographs, and audio or video recordings. “Document” also includes

22   all drafts or non-identical copies, such as those bearing comments in the margin or other marks or

23   notations not present on the original or final copy. If any “Communication” or “Data” is reduced to

24   writing or other recordation, it is also a “Document.”

25          6.      “Extended Reality” means hardware and software components relating to delivering
26   virtual reality, mixed reality, augmented reality, or other enhanced reality experiences to users.

27          7.      “Federal Complaint” means the complaint for a temporary restraining order and
28   preliminary injunction filed by Plaintiff FTC in the Action on July 27, 2022.

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 1            8.     “Fitness Solutions” means hardware, software, video content, app-based content, online
 2   content, and in-person activities intended to result in health and wellness outcomes for users and
 3   participants.
 4            9.     “FTC” means the Federal Trade Commission, its officers, Commissioners, employees,
 5   agents, representatives, affiliates, consultants, advisors, successors, or predecessors, as well as all
 6   persons acting on the FTC’s behalf, and any and all persons associated with, affiliated with, or controlled
 7   by the FTC.
 8            10.    “Merger” means the proposed acquisition of Within Unlimited, Inc. by Meta Platforms,
 9   Inc.
10            11.    “Meta” means:
11                   (a)    Meta Platforms, Inc., its subsidiaries, affiliates, divisions, either collectively,
12   individually, or in any subset; and
13                   (b)    The present and former officers, directors, employees, agents, and other persons
14   acting on behalf of Meta, its divisions, subsidiaries, and/or affiliates.
15            12.    “Person” means any natural person, corporation, association, organization, firm,
16   company, partnership, joint venture, trust, estate, or other legal or governmental entity, whether or not
17   possessing a separate juristic existence.
18            13.    “Second Request” means the request for informational and documentary materials
19   related to the proposed acquisition of Within Unlimited, Inc. by Meta Platforms, Inc. submitted on

20   November 29, 2021, and the Federal Trade Commission’s investigation in support of the same.

21            14.    “Snyder Declaration” means the declaration captioned Declaration of Jennifer Snyder
22   in Support of Plaintiff’s Motion for a Temporary Restraining Order executed on July 26, 2022.

23            15.    “Testimony” means any sworn testimony, including, but not limited to, affidavits,
24   declaration, depositions, or investigational hearings.

25            16.    “Within” means:
26                   (a)    Within Unlimited Inc., its affiliates, divisions, either collectively, individually, or

27   in any subset; and

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 1                  (b)     The present and former officers, directors, employees, agents, and other persons
 2   acting on behalf of Within, its divisions, subsidiaries, and/or affiliates.
 3          17.     “You” and “Your” mean the FTC, its officers, Commissioners, employees, agents,
 4   representatives, affiliates, consultants, advisors, successors, or predecessors, as well as all persons acting
 5   on the FTC’s behalf, and any and all persons associated with, affiliated with, or controlled by the FTC.
 6          18.     Unless clearly indicated otherwise: (a) the use of a verb in any tense shall be construed
 7   as the use of that verb in all other tenses; (b) the use of the feminine, masculine, or neuter genders shall
 8   include all genders; (c) the singular form of a word shall include the plural, and vice versa; (d) the

 9   connectives “and” and “or” shall be construed either disjunctively or conjunctively as necessary to bring
10   within the scope of any request all information that might otherwise be construed to be outside of its
11   scope; (e) the word “any” shall include, without limitation, “each and every”; (f) the terms “all” and
12   “each” shall be construed as “all and each”; (g) the term “including” is intended to be comprehensive
13   and means “including, but not limited to”; and (h) the terms “between” and “among” shall be construed
14   as “between” or “among” as necessary to bring within the scope of any request all responses and
15   documents that might otherwise be construed to be outside its scope.
16          19.     For the purposes of the Deposition Topics, terms not specifically defined shall be given
17   their ordinary meanings as You understand them to be used in the trade or pursuant to ordinary usage.
18          20.     The use of any definition for the purposes of the Deposition Topics shall not be deemed

19   to constitute an agreement or acknowledgment that such definition is accurate, meaningful, or

20   appropriate for any other purpose in this Action.

21                                                INSTRUCTIONS
22          1.      Each Deposition Topic shall be construed independently, and no Deposition Topic shall

23   be construed as limiting the scope of any other Deposition Topic unless otherwise indicated.

24          2.      The time period applicable to each Deposition Topic, unless otherwise specified, is from

25   January 1, 2018 until the present.

26          3.      The witness or witnesses You designate to testify about Deposition Topics identified

27   herein must be prepared to testify to all information known or reasonably available to You, regardless

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 1   of where the information is maintained, in what form the information is maintained, or whether the
 2   information is maintained by You or by Your predecessors, subsidiaries, parents, and affiliates.
 3                                          DEPOSITION TOPICS
 4          Topic No. 1. The FTC’s economic analyses Regarding the Merger, including market share and
 5   HHI calculations conducted after the issuance of the Second Request and prior to the Federal Complaint
 6   being filed and any conclusions arising from the analyses.
 7          Topic No. 2. The FTC’s analysis, selection of, and/or exclusion of Extended Reality applications
 8   and fitness solutions considered for inclusion in the markets cited in the Federal Complaint, including

 9   the facts the FTC relied upon in analyzing, selecting, and/or excluding such applications and solutions.
10          Topic No. 3. The FTC’s decision to exclude meditation-focused applications in determining
11   market shares and conducting HHI calculations cited in the Federal Complaint, including the facts the
12   FTC relied upon in deciding to exclude such apps.
13          Topic No. 4. The FTC’s decision to exclude applications with lower or negligible fitness impacts
14   in determining market shares and conducting HHI calculations in relation to the “VR fitness App” market
15   alleged in the Federal Complaint, including the facts the FTC relied upon in deciding to exclude such
16   applications.
17          Topic No. 5. The FTC’s reliance upon using the search terms “exercise” and “fitness” on the
18   Meta Quest Store in determining market shares and conducting HHI calculations cited in the Federal
19   Complaint.

20          Topic No. 6. For each of the Extended Reality applications identified in the FTC’s Supplemental
21   Interrogatory Response No. 5, the criteria used by the FTC to determine that each such application was

22   in one or more of the putative markets alleged in the Federal Complaint.

23          Topic No. 7. For each Extended Reality application identified in the Meta Quest Store using the
24   search terms “fitness” or “exercise” attached as Exhibit 1, whether or not each such application is in one

25   or more of the putative markets alleged in the Federal Complaint, and the reasons for inclusion or

26   exclusion therefrom.

27          Topic No. 8. For each Extended Reality application identified in Meta’s letter to the FTC dated
28   June 6, 2022, identified in the FTC’s response to Interrogatory No. 7 as PX0001 and attached as Exhibit

     DEFENDANTS’ NOTICE OF DEPOSITION TO                 6                      CASE NO. 5:22-CV-04325-EJD
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 1   2, whether or not each such application is in one or more of the putative markets alleged in the Federal
 2   Complaint, and the reasons for inclusion or exclusion therefrom.
 3          Topic No. 9. For each Extended Reality application identified in Meta’s letter to the FTC dated
 4   June 22, 2022, identified in the FTC’s response to Interrogatory No. 7 as PX0007 and attached as Exhibit
 5   3, whether or not each such application is in one or more of the putative markets alleged in the Federal
 6   Complaint, and the reasons for inclusion or exclusion therefrom.
 7          Topic No. 10. The facts and materials You provided to, and chose to withhold from, Jennifer
 8   Snyder in support of preparing the Snyder Declaration, the analyses conducted by Jennifer Snyder, and

 9   any facts or materials Jennifer Snyder requested from the FTC in connection with preparing the Snyder
10   Declaration.
11          Topic No. 11. Communications between You and the United States Congress, including but not
12   limited to members and their staff, Regarding the Second Request, the Action, and the Extended Reality
13   industry.
14          Topic No. 12. Communications between You and members of the Executive branch, including
15   but not limited to their staff, Regarding the Second Request, the Action, and the Extended Reality
16   industry.
17          Topic No. 13. Communications between You and state Attorneys General, including but not
18   limited to their staff, Regarding the Second Request, the Action, and the Extended Reality industry.

19          Topic No. 14.     Communications with third parties identified in the FTC’s Supplemental
20   Responses and Objections to Defendants’ First Set of Interrogatories Regarding the Second Request, the

21   Action, and the Extended Reality industry.

22          Topic No. 15. Communications with any other third parties, including customers who have
23   complained or opposed the Merger, Regarding the Second Request, the Action, and the Extended Reality

24   industry.

25          Topic No. 16. The FTC’s decision to bring the Action against the recommendation of FTC staff,
26   and the facts, evidence, and information on which the FTC relied in deciding to do so.

27          Topic No. 17. Communications Regarding whether Lina Khan is or should be disqualified from
28   participating in the FTC’s review of or challenge to the Merger, including but not limited to whether she

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 1   should be recused from the votes on whether to authorize the Action, or from taking any other action,
 2   whether characterized as prosecutorial or adjudicatory, with respect to the Action.
 3          Topic No. 18. The conclusions of the FTC’s 6(b) Study of acquisitions by technology platform
 4   companies in FTC Matter No. P201201, and the bases for the same.
 5          Topic No. 19. The identity of any third parties who support the FTC’s contention stated in the
 6   Federal Complaint that the Merger would “substantially lessen competition or tend to create a monopoly
 7   in the relevant antitrust market for VR Dedicated fitness apps in the United States,” and the factual bases
 8   for the FTC’s knowledge of any third-party support for its contention.

 9          Topic No. 20. The putative existence and state of competition, to the extent alleged, between
10   Beat Saber and Supernatural, including but not limited to whether and how they allegedly compete with
11   each other.
12          Topic No. 21. The putative existence and state of competition, to the extent alleged, between
13   Beat Saber and other VR games and applications that the FTC excluded from its alleged markets.
14          Topic No. 22. The existence and state of competition, to the extent alleged, between Beat Saber
15   and other non-VR games and applications that the FTC excluded from its alleged markets.
16          Topic No. 23.      The existence and state of competition, to the extent alleged, between
17   Supernatural and non-VR dedicated fitness applications that the FTC excluded from its alleged markets.
18          Topic No. 24. The state and nature of Extended Reality, including but not limited to the maturity
19   or nascence of the market, the potential for growth, potential or likely hardware developers, and the role

20   of and need for investment.

21          Topic No. 25. The public interests potentially affected by the Merger, including but not limited
22   to growth of and investment in Extended Reality.

23          Topic No. 26. The facts that the FTC claims demonstrate that the public interest is served by
24   preventing the Merger from occurring.

25          Topic No. 27. Any facts, information, documents, communications, investigative testimony,
26   and/or other direct and/or circumstantial evidence that supports allowing the Merger to occur, including

27   information learned from third parties regarding the nature of the alleged relevant markets, competition,

28   investment, development, and lack of any coordinated activity by relevant market participants.

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 1          Topic No. 28. The FTC’s routine practice and procedures regarding merger investigations,
 2   recommendations, and initiation of lawsuits and administrative proceedings, and how the FTC’s conduct
 3   here regarding the Merger compared to its routine practice and procedures.
 4          Topic No. 29. The FTC’s Responses to Defendants’ Interrogatories.
 5          Topic No. 30. The FTC’s decision to amend the Federal Complaint to remove the broader “VR
 6   Fitness App” market, including the details and timing of any vote by the Commissioners to amend the
 7   Complaint, and the facts, evidence, and information upon which the FTC relied as the basis for removal
 8   of the proposed “VR Fitness App” market.

 9          Topic No. 31. The FTC’s decision to amend the Federal Complaint to remove previous
10   allegations that the Merger is “presumptively unlawful” with respect to the “VR Fitness App” market,
11   and the facts, evidence, and information upon which the FTC relied as the basis for removal of those
12   allegations.
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     DEFENDANTS’ NOTICE OF DEPOSITION TO               9                     CASE NO. 5:22-CV-04325-EJD
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            EXHIBIT 1
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                        Exhibit 1 – Meta Quest Store Search Results

The following search results were obtained by entering the indicated search terms in the “Search
Quest” field on the Meta Quest Store 1 as of October 1, 2022.

“Fitness” Search Term Results

      1. Supernatural

      2. Les Mills Bodycombat

      3. Synth Riders

      4. FitXR

      5. Guided Meditation VR

      6. Dance Central

      7. TRIPP

      8. STRIDE

      9. Creed: Rise to Glory

      10. Guided Tai Chi

      11. OhShape

      12. Until You Fall

      13. Audio Trip

      14. Blaston

      15. Rezzil Player

      16. Liteboxer

      17. REAKT Performance Trainer

      18. Maloka

      19. Hoame


1
    www.oculus.com/experiences/quest/



                                               1
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   20. WIN Reality

   21. VZfit

   22. Knockout League

   23. X-Fitness



“Exercise” Search Term Results

   1. FitXR

   2. Dance Central

   3. Creed: Rise to Glory

   4. Beat Saber

   5. Liteboxer

   6. Supernatraul

   7. TRIPP

   8. Audioshield

   9. Les Mills Bodycombat

   10. Guided Tai Chi

   11. Guided Meditation VR

   12. REAKT Performance Trainer

   13. VXfit

   14. Rezzil Player

   15. Holofit




                                      2
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                 EXHIBIT FILED
                  UNDER SEAL




            EXHIBIT 2
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                EXHIBIT FILED
                 UNDER SEAL




            EXHIBIT 3


                               1
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 1                                      CERTIFICATE OF SERVICE
 2          I declare that I am employed with the law firm of Weil, Gotshal & Manges LLP, whose address
 3   is 201 Redwood Shores Parkway, Redwood Shores, California 94065 (hereinafter “WGM”). I am not a
 4   party to the within cause, I am over the age of eighteen years, and my email address is
 5   tricia.dresel@weil.com. I further declare that on October 7, 2022, I served a copy of the foregoing:
 6          BY ELECTRONIC SERVICE by electronically mailing a true and correct copy through
 7   WGM’s electronic mail system to the email address(es) set forth in the service list below.
 8    Abby L. Dennis                                      Mark C. Hansen
      Email: adennis@ftc.gov                              Email: mhansen@kellogghansen.com
 9    Peggy Bayer Femenella                               Geoffrey M. Klineberg
      Email: pbayer@ftc.gov                               Email: gklineberg@kellogghansen.com
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      Josh Goodman                                        KELLOGG HANSEN TODD FIGEL &
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     CERTIFICATE OF SERVICE                                                    CASE NO. 5:22-CV-04325-EJD
         Case 5:22-cv-04325-EJD Document 258 Filed 11/21/22 Page 18 of 18




 1          Executed on October 7, 2022, at San Jose, California. I declare under penalty of perjury under
 2   the laws of the United States, that the foregoing is true and correct.
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                                                       PATRICIA DRESEL
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     CERTIFICATE OF SERVICE                               2                   CASE NO. 5:22-CV-04325-EJD
